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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION

BERNIE QUARTERMAN,                               §
                                                 §    Civil Action No. CV420-006
        Flaintifif,                              §
V.                                               §    VERinED COMPLAINT
                                                 §
CITY OF V^ALTHOURVILLE,GEORGIA; §                     JURY DEMAND REQUESTED
and MAYOR DAISY S. PRAY,                         §
In her individual Capacity,                      §
and MEUSSAJONES,                                 §
In her individual Capacity,
and JEFFERY ARNOLD,
In his individual Capacity,
And ANDREW JOHNSON                               §
In his individual Capacity,                      §
                                                 §
                                                 §
        Defendant(s).


                                       *** AMENDED ***

                                 COMPLAINT FOR DAMAGES

        COMES NOW,Plaintiff Bemie Quarterman ("PlaintifT' or "Quarterman")through
undersigned counsel, and files this Complaint for Damages under the Fair Labor Standards Act
of 1938("FLSA")and the Fourteenth Amendment Right to Due Process against Defendants,
City of Walthourville, Georgia ('"Defendant City"), Daisy S. Pray ("Defendant Pray"),
individually, Melissa Jones ("Defendant Jones"), individually, Jeffery Arnold ("Defendant
Arnold"), individually, Andrew Johnson (Defendant Johnson"), individually,(collectively
referred to as "Defendants"), and shows the following:




                               I.      Nature of Comnlalnt

     1. Plaintiff brings this action to obtain full and complete relief and to address the unlawful
        employment practices described herein.



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   2. Plaintiff Chief Quarterman brings his claim upon which relief may be granted, with

       regard to his claim that he was intentionally retaliated against in violation ofthe FLSA,

       by Mayor Daisy Pray and supported by city employees and appointees. Chief Quarterman

       "head asserts" that "he was retaliated against in violation of the FLSA", as the facts "to

        make plausible that he was discharged [and] discriminated against because he filed a

       complaint or instituted or caused to be instituted [as a confidential informant/witness,

        bound officer of the law, reported the alleged felony criminal conduct of Mayor Daisy

        Pray to District Attorney Tom Durden] a proceeding under or related to the FLSA." This

        is when Chief Quarterman became the focus of Mayor Daisy Pray's revenge. The

       "material facts" show that as a resultant "the "immediate cause of[his] discharge [was]

        retaliation.'" This can be implemented through direct or circumstantial evidence. It was at

        this point that the conspiracy/coelution began with Mayor Daisy Pray, City Clerk Melissa

        Jones, and City Attorneys [State Court Judeel Jeffery Arnold and Andrew Johnson. That

        Jeffery Amold had made arrangements that no criminal proceedings would purse against

        Mayor Daisy Pray for her alleged felony criminal conduct,"if we get rid of Chief

        Quarterman." The fact that during this closed session city council meeting that Jeffery

        Amold nor Mayor Daisy Pray brough up any of the allegation that were alleged against

        Chief Quarterman as an issue nor as the reasoning for his termination, but rather only that

        "the allegations against Mayor Daisy would go away," supports and substantiates the fact

        the proffered "termination basis was false....that retaliation was the real reason," and that

        facts support that the events [Letters of Reprimand, Suspension, Administrative

        Hearings] were in fact "pretexual" and that the City engaged in unlawful workplace

        retaliation.


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   3. On February 7, 2018 Chief Quarterman e-mailed Mrs. Melissa Jones regarding his

       "request for overtime compensation" along with a detailed spreadsheet. Chief

        Quarterman did in fact "contend during his employment that as Chief of Police he was

        improperly classified as exempt or that he was entitled to overtime pay" by compiling the

        data [facts] on a spreadsheet and submitting it to the City. On February 15, 2018 Chief

        Quarterman received an e-mail from Mrs. Melissa Jones "deny" his claim. In her

        explanation Mrs. Melissa Jones intentional omitted that Chief Quarterman held several

        positions as well as additional duties. Chief Quarterman was also the and internal affairs

        investigator, and lead investigator, and functioned as a patrol officers, due to being

        undermanned, which is supported by his multiple arrests and successful convictions

        thereof. Chief Quarterman also operated as a patrol officer as evidenced by his login with

        911 and traffic citations issued. Chief Quarterman filed his complaint on January 7, 2020

        will within the two- and three-year statute of limitation from when he was "deny."

       (Exhibit"AH")

   4. The Code of Ordinance of the City of Walthourville supersedes the Personnel Manual,

        and implies a contract of employment between the city and a city official who is not

        elected, more specifically to code refers to the Chief of Police. This implied contract

        grants a property right to Chief Quarterman's continued employment.

    5. Chief Quarterman was denied a trial before a disinterested and impartial judicial officer

        as guaranteed by the Due Process Clause of the Fourteenth Amendment where he was

        compelled before administrative hearing on November 15,2017 and an Adverse Action

        "Name-Clearing" before the mayor who was the "accuser" as well as the person of




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        interest in Chief Quarterman confidentially reporting alleged felony criminal conduct to

        District Attorney Tom Durden, who was the judicial officer.




                                  II.     Jurisdiction and Venue

   6. Plaintiff invokes the jurisdiction of this court pursuant to 29 U.S.C. §216(b), and 28
        U.S.C. §§1331 and 1343.


    7. This Court has authority to issue the requested declaratory relief under 28 U.S.C. §2201.


    8. This Court has authority to issue the requested injunctive relief under FED. R. CIV. P. 65
        and 28 U.S.C. §1343(3).


    9. This Court is authorized to award the requested damages under 28 U.S.C. §1343(3).


    10. This Court is authorized to award attorneys' fees under 42 U.S.C. §1988.


    11. Because a substantial part ofthe acts and omissions that give rise to Plaintiff s claim
        occurred in this district, venue is proper pursuant to 28 U.S.C. §1391(b).


                               III.     Identification of Defendants

    12. The City of Walthourville is a body politic which is able to sue and be sued in its
        corporate name. See City ofAtlanta v, Brinderson Corp., 799 F.2d 1541, 1543 (11'^ Cir.
        1986).


    13. Defendants are now, and at all times relevant hereto, have been employers as that term is
        defined by the FLSA.


    14. Defendant, City of Walthourville, is one ofseven municipalities in Liberty Coimty,
        Georgia and is subject to the jurisdiction of this court.

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    15. The City has adopted the policies and procedures described herein and is responsible for
        their enforcement against Bemie Quarterman.


    16. Defendant, Daisy S. Pray, is/formerly the Mayor ofthe City of Walthourville. Defendant
        Fray controlled the Plaintiff and was one the individuals ultimately responsible for
        violating the FLSA anti-retaliation, hostile environment, and compensation provisions.
        Mayor Pray is/formerly responsible for the City's administration and policy-making,
        including the policies and procedures described herein and for their enforcement against
        Quarterman.


    17. Defendant, Pray is a resident of Liberty County, Georgia and is subject to the jurisdiction
        of this court and is sued in her individual capacity.


    18. Defendant, Melissa Jones, was formerly the City Clerk / Human Resource Administrator
        ofthe City of Walthourville. Defendant Jones controlled the Plaintiff and was one the
        individuals ultimately responsible for violating the FLSA anti-retaliation, hostile
        environment, and compensation provisions. Melissa Jones was formerly responsible for
        the City's administration and policy-making directly under Mayor Daisy Pray, including
        the policies and procedures described herein and for their enforcement against Bemie
        Quarterman.


    19. Defendant, Jones is a resident of Appling County, Georgia and is subject to the
        jurisdiction of this court and is sued in her individual capacity.

    20. Defendant, Jeffery Amold was formerly the City Attorney of the City of Walthourville.
        Defendant Amold directly influences, maliciously, controlled the Plaintiff and was one
        the individuals ultimately responsible for violating the FLSA anti-retaliation, hostile
        environment, and compensation provisions. Jeffery Amold formerly responsible for
        directly influencing, maliciously, the City's administration and policy-making, including


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       the policies and procedures described herein and for their enforcement against Bemie
       Quarterman.


   21. Defendant, Jeffery Arnold is a resident of Long County, Georgia and is subject to the
       jurisdiction ofthis court and is sued in his individual capacity.


   22. Defendant, Andrew Johnson formerly the City Attorney ofthe City of Walthourville.
        Defendant Johnson directly influences, maliciously, controlled the Plaintiff and was one
        the individual ultimately responsible for violating the FLSA anti-retaliation, hostile
        environment, and compensation provisions. Andrew Johnson was formerly responsible of
        directly influencing, maliciously the City's administration and policy-making,including
        the policies and procedures described herein and for their enforcement against Bemie
        Quarterman.


   23. Defendant, Johnson is a resident of Bryan County, Georgia and is subject to the
       jurisdiction of this court and is sued in his individual capacity.


   24. Defendant City may be served by delivering a copy of the summons and complaint to
        City of Walthourville, c/o Daisy S. Pray, Mayor or Walthourville at 222 Busbee Road,
        Walthourville, Georgia 31333.


    25. The City acquiesces in, sanctions, and supports Mayor Pray, Melissa Jones, Jeffery
        Arnold, and Andrew Johnson's enforcement ofthe City's policies and procedures
        described herein against Bemie Quarterman.


    26. Defendant Pray may be served by delivering a copy of the summons and complaint to
        Daisy S. Pray, 170 Barnard Pray Rd., Allenhurst, Georgia 31301.

    27. Defendant Jones may be served by delivering a copy of the summons and Amended
        Complaint to Melissa Jones, 203 Weatherly Dr., Baxley, Georgia 31513.


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   28. Defendant Arnold may be served by delivering a copy of the summons and Amended
        Complaint to Jeffery Arnold, 128 South Main Street, Hinesville, Georgia 31313.

   29. Defendant Johnson may be served by delivering a copy of the summons and Amended
        Complaint to Andrew Johnson, 128 South Main Street, Hinesville, Georgia 31313.


   30. Plaintiff was an employee as that term is defined by the FLSA and at all times material
        hereto was an employee of Defendants.


                                       IV     Statement of Facts

Quarterman's Background


   31. Quarterman is a native bom and raised in Liberty, County Georgia. He completed high
        school in Hinesville, Georgia and Akron, Ohio. He then attended college and entered
        into the United States Army.


   32. Quarterman has an associate in Criminal Justice, Bachelor of Management, Masters of
        Criminal Justice Administration with a focus on Homeland Security, and is currently
        working on his Doctorial in Criminal Justice Administration.


    33. Quarterman began his military and law enforcement career working city, coimty, state,
        and international law enforcement. Obtaining positions of Officer, Agent, Investigator,
        Chief of Investigations, Deputy Station Commander, Station Commander and forwarding
        Operation Base Commander overseas.


    34. Quarterman continued his law enforcement and military career as a Noncommissioned
        Officer in the United States Military as well as an organized crime investigator under the
        United States Department of State. International police advisor under the United Nations,
        Domestic Violence Investigator and Trainer under the Department of Defense in Kabul,
        Afghanistan holding positions of International Organized Crime Investigator,
        International Chief of Investigations, and Deputy and Station Commander under the

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        Department of State with the International Law Enforcement Division, in Pristina and
        Podujevo, Kosovo.


   35. After 20 plus years of law enforcement and receiving Agents of the Year, Officer of the
        Quarter, several Certificates of Appreciation and Accommodations and the completion of
        sexual harassment certifications and duties with the United States Army Reserves. He
        decided to continue his civilian law enforcement career with the City of Walthourville.


   36. Mr. Quarterman began his career with the City of Walthourville Police as a patrol
        officer. After his first month of duty he was promoted to internal affairs investigator and
        after approximately 3 V2 months was promoted to Captain/Asst. Chief of Police. He was
        then promoted to Chief of Police in 2015 holding the position until January 10, 2018.

    37. During Mr. Quarterman's time in law enforcement and his current United States Military
        Career he has never had a reprimand, disciplinary action, adverse action or any
        questionable statements in his law enforcement, military, or employment files.


    38. Quarterman has never been accused of any wrong doings or violations until he reported
        corruption, retaliation, abuse of powers/misuse of powers,criminal and illegal conduct by
        the Mayor of the City of Walthourville, Daisy Pray, and the City Clerk of
        Walthourville, Melissa Jones, and being targeted with the assistance of the city attorneys
        Jeffery Arnold and Andrew Johnson.


    39. The City of Walthourville citizens, officers, city workers, other City of Walthourville
        political figures, and religious leaders all appreciated the job Chief Quarterman and the
        officers did while employed with the City of Walthourville so much that they presented
        Chief Quarterman and the City of Walthourville police officers with an Outstanding
        Appreciation Certificate of Appreciation just a few weeks before the targeting and
        retaliation continued leading to his first suspension in November, 2017.




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The City Fires Quarterman


   40. On or about January 3. 2014. Quarterman was hired as an officer under Chief McFadden.


   41. On or about 2014. Mayor Daisy initiated an investigation, via the Walthourville Police
        Department("WPD"), into James Henry to bring shame on his son, citizen Larry Baker,
        to prevent him from running against her in the 2016 Mayor Election. This was witnessed
        by Bemie Quarterman and Tracy McFadden.


   42. On or about, September 2015. December 2015. February 2016. November 2016. and in
        January 2017. Mayor Daisy Pray requested, escalating to demanding, that the Chief
        Quarterman place illegal drugs in City Councilman Larry Baker's(currently the Mayor
        elect to be sworn in on January 13^^, 2020) vehicle and then have a Walthourville Police
        Officer pull him over in order to arrest Larry Baker for the possession of a controlled
        substance. Chief Quarterman refused to do with every request. This was witnessed by the
        then City Clerk Shana T. Moss.
       (Exhibit"A")


   43. On or about September 1. 2015. Quarterman was promoted to be the Chief of Police for
        the City of Walthourville.


   44. On or about 2016. Mayor Daisy Pray initiated an investigation, via the Walthourville
        Police Department('"WPD"), into Lusciano Rodrigrious for running an illegal vehicle
        painting business. She had knowledge of the illegal business but wanted him cited and
        shut down because his illegal business did work for her husband and over charged her
        husband. This was witnessed by Officer Lee, Officer Burgess, and Chief Quarterman.


    45. On or about October 2016. Officer Green resigned. This left one (1) part-time position
        vacant.



    46. On or about December 2016. Officer Drummond resigned. This left one(1) part-time and
        now one(1)full-time position vacant.
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   47. On or about February 22. 2017. Shana Moss resigned as City Clerk/Human Resource
        Officer for the City of Walthourville.


   48. On or about March 3. 2017. City Councilman Larry Baker, the victim. City Clerk Shana
        Moss and Chonte Wright, witnesses, requested that Sheriff Steve Sikes, GBI agent Tracy
        Sands, and District Attomey Tom Durden investigate the allegations about Mayor Daisy
        Fray's requests/demands to have drugs placed in Larry Baker's vehicle.


    49. On or about March 2017. Melissa Jones was hired by Daisy Fray as City Clerk/Human
        Resource Officer for the City of Walthourville.


    50. On or about March 2017. Chief Quarterman started requesting reports from Ms. Jones in
        reference to the Folice Department Budget and actual expenses to include payroll. It was
        discovered that there were many discrepancies to include the fact that officers were not
        being paid overtime in accordance with Federal Law.


    51. On or about March 17. 2017. Chief Quarterman spoke with District Attomey Tom
        Durden about beginning an investigation into Mayor Daisy Fray's requests/demands to
        have drugs placed in Larry Baker's vehicle and was told by Mr. Durden that he would
        address it after the current round-up that Chief Quarterman and other Investigators were
        currently completing. Chief Quarterman had spoken previous with Mr. Durden several
        times about the repeated request/demands made by Mayor Fray. Chief Quarterman was
        not aware ofthe fact that the samDirectivee request for an investigation had been made
        by the victim and witnesses as previously indicated until Chief Quarterman, Larry Baker,
        and Shana Moss meet for an pre-arraigned meeting at the Liberty County District
        Attomey's office to speak with Mr. Durden about the investigation into Mayor Daisy
        Fray in March 2018.



    52. On or about Mav 2017. Mayor Daisy Fray threatened to shoot Chief Quarterman in the
        head. Sgt J. Burgess then expressed his concem for Chief Quarterman's safety with Clerk
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        Shelly Cardell, Officer Wright, and Officer Lee. This was witnessed by Sgt. J Burgess.
       (Exhibit "B")


    53. On or about May 2017. Mayor Daisy Pray threatened to "take a hit out" on anyone who
        inquired about the City Budget. This was witnessed by Sgt. J Burgess and Chief
        Quarterman of which GBI agent Tracy Sands was notified of all threats.


    54. On or about June 9. 2017. Chonte Wright was terminated by Mayor Daisy Pray and
        Melissa Jones for allegedly increasing an employee's pay. The witnesses all indicated
        that Mrs. Moss, the previous clerk, assisted Mrs. Lewis in applying the raise for said
        employee after it had been approved by Mayor Daisy Pray, as was reported on the
        incident report. Mayor Daisy Pray and Ms. Jones approached Chief Quarterman and
        requested that the official police report be altered by removing the witnesses' statements.
        Chief Quarterman denied the request and reflected such as a supplemental to the report.


    55. On or about Julv 2Q. 2017. Officer Lee filed an action in Federal Court to recover the

        unpaid overtime. After settling this actBoardion all the officers were paid back pay for
        unpaid overtime. It was after this action that Officer Lee became a focus for Mayor Daisy
        Pray and Melissa Jones.


    56. On or about Julv 23.2017. Chief Quarterman emailed Mayor Daisy Pray expressing the
        need to fill the one (1)full-time and one(1)part-time vacant positions. At this time
        Melissa Jones who was also the Human Resource Officer had not filled the vacant

        positions.


    57. On or about August 1. 2017. Chief Quarterman accepted a Garnishment Action serving
        for Officer Lee. He made a copy for Officer Lee and then sent the original to City Hall
        through the "Inter Office" envelope. The accepting of servicing, coping, and placement
        of the document into the "Inter Office" envelope took place in the Clerk/Officer's shared
        office, as had been standard procedure. This was witnessed by Shelly Cardell.




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   58. On or about August 5. 2017. Chief Quarterman emailed City Clerk Melissa Jones
        requesting overtime due to the WPD being understaffed. At this time Melissa Jones who
        was also the Human Resource Officer had not filled the one(1)full time and one (1) part
        time vacant positions.


   59. On or about, August 2017. Officer Long resigned leaving the Wathourville Police
        Department short over one third (1/3) of the entire department with two(2)full time and
        one(1)part time position vacant. This means the City was requiring four(4) officers to
        cover the shifts of what previously(7)officers were covering.


   60. On or about August 14. 2017. Chief Quarterman emailed Mayor Daisy Pray expressing
        the need to fill the two(2) full-time and one(1)part-time vacant positions.


    61. On or about August 16. 2017. an INTEROFFICE MEMO was sent out by Mayor Daisy
        Pray, as follows:
               Effective August 16, 2017, all overtime must be approved by the Human
               Resources Administrator, Melissa A. Jones. Overtime must be approved by
               Ms. Jones prior to being worked. For public works and city hall overtime is
               defined as hours worked more than 40 in the seven-day work period.
               Overtime is defined as those hours more than 53 per week, in an established
               14-day work period for the fire department. Overtime is defined as those
               hours more than 43 per week, in established 14-day work period for the
               police department. Failure to comply with this memo will result in
               disciplinary action.
               (Exhibit "C")

    62. The Fire Department, which is a predominately voluntary, was allowed 106 hours per 14-
        day period with any additional hours then being considered overtime whereas the Police
        Department was allowed 86 hours per 14-day period.


    63. Mayor Daisy Pray placed this Overtime restriction with full knowledge that the only
        department that was severely understaffed was the Police Department.


    64. Mayor Daisy Pray allowed the Fire Department 20 more hours per 14-day period than the
        Police department, with full knowledge that the Police Department was understaffed.

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   65. Mayor Daisy Pray had full knowledge that it was the responsibility for the Human
        Resource Officer Melissa Jones to hire officers for the vacant positions, however they
        were NOT being filled. In the Proposed Letter of Reprimand dated October 27,2017, Ms.
        Jones stated that "when positions have become available within the City, they are applied
        for by many qualified applicants." Such strict Overtime restrictions were placed on the
        Police Department while two(2)full-time and(1) part-time positions, which was three
       (3)out ofthe seven (7) positions that the Police Department had available, were left
        vacant by Ms. Jones.


   66. Mayor Daisy Fray had full knowledge that if the police Department had a full staff of
        seven(7) officers that Overtime would not be necessary.


   67. On or about August 17. 2017. Chief Quarterman emailed City Clerk Melissa Jones
        requesting overtime due to the WPD being understaffed. Ms. Jones never replied to the
        email request. This request for overtime was to allow there to be only one officer on duty
        per shift covering the entire city, as well as have all officers present for court
        proceedings.(Exhibit "D")


   68. On or about August 19. 2017. Chief Quarterman emailed City Clerk Melissa Jones
        requesting overtime due to the WPD being imderstaffed. Ms. Jones never replied to the
        email request. This request for overtime was to allow there to be only one officer on duty
        per shift covering the entire city, as well as have all officers present for court
        proceedings.(Exhibit"E ")


    69. On or about August 20. 2017. Chief Quarterman emailed City Clerk Melissa Jones
        requesting overtime due to the WPD being understaffed. Ms. Jones never replied to the
        email request. This request for overtime was to allow there to be only one officer on duty
        per shift covering the entire city, as well as have all officers present for court
        proceedings. (Exhibit "F")




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   70. On or about August 22. 2017. the new Personnel Manual took effect. This new Manual

        was custom written by Mayor Daisy Pray and Melissa Jones.


   71. On or about August 24. 2017. Chief Quarterman emailed City Clerk Melissa Jones
        requesting overtime due to the WPD being understaffed. Ms. Jones never replied to the
        email request. This request for overtime was to allow there to be only one officer on duty
        per shift covering the entire city, as well as have all officers present for court
        proceedings. (Exhibit "G")


    72. On or about August 25.2017. Chief Quarterman received his D'Disciplinary Action
        Record.(Exhibit"H")


    73. After receiving this Disciplinary Action Record, Chief Quarterman requested an Appeal
        of Disciplinary Action Form, as the disclosure indicated to do at the bottom ofthe
        Disciplinary Action Record. Mr. Jones informed Chief Quarterman that under the new
        Personnel Manuel that he was no longer granted a grievance process for this allegation.
       (Exhibit'T")


    74. On or about Seritember 1. 2017. Chief Quarterman emailed City Clerk Ms. Jones
        requesting overtime due to the WPD being understaffed. Ms. Jones never replied to the
        email request. This request for overtime was to allow there to be only one officer on duty
        per shift covering the entire city, as well as have all officers present for court
        proceedings.(Exhibit "J")


    75. On or about Oct 2017. City Attorney Jeffery Arnold requested that the City Council and
        Mayor hold an executive session. At this executive session, Mr. Arnold informed the City
        Council and Mayor Daisy Pray that he received information that Chief Quarterman had
        reported corruption on Mayor Daisy Pray. At this time, Chief Quarterman was unaware
        of how Jeffery Arnold received this confidential information that Mr. Arnold had
        disclosed to Mayor Daisy Pray, in reference to her alleged criminal conduct, and within a
        few days he received the following Adverse Action.



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    76. On or about October 15. 2017. Chief Quarterman received the 2"^ Notice of Proposed
        Adverse Action executed by Mayor Daisy Pray for the following:
               On August 16, 2017 ail department heads were notified via interoffice
               memo that all overtime in the City must be pre-approved by Ms. Melissa
               Jones prior to it being worked. You were personally informed ofthis policy
               by Mayor Daisy Pray...in a meeting attended by you (Quarterman), as well
               as Ms. Melissa Jones and the City Attorney. However, despite these two
               explanations and directions regarding City Policy, officers of your
               department continue to accrue overtime at an alarming rate. As an example,
               Latarshia Lee accrues 121 regular hours for the period between September
               27 and October 10, 2017. SGT Wright accrued 98 during the same period.
               This is despite the fact that Officer Lee has filed a claim with the City for a
               violation of the Federal Overtime Laws and it was explained to you the
               reason and importance of the policy.
               Any oral conference that you request will be conducted by Mayor Daisy
               Pray at her discretion within the next fourteen (14) days. Your written
               and/or oral reply must be received by 17:00 October 18. 2017.
               Consideration will be given to extending this time period if you submit a
               written request to Ms. Melissa Jones stating your reasons for desiring more
               time within the time frame specified above.
               (Exhibit"K")


    77. On or about October 24. 2017. Chief Quarterman's Attorney Solomon Amusan submitted
        his Response to the 2'"' Notice ofProposed Adverse Action executed by Mayor Daisy
        Pray, as follows:
               As you are aware, since Officer Long's resignation the Police Department
               has been short(2)two full-time officers and (1)one part-time officer. This
               constitutes over(1/3) one-third of the entire department.
               It is Human Resources responsibility to fill the vacant positions. The Chief
               have requested on several occasions that these positions to be filled are
               expedited since June, thus reducing the necessity of over time.
               The Chief has informed Ms. Melissa Jones by email to her on August S'*",
               2017 about the necessity for over-time due to lack of man power in the
               Police Department. On August M''', 2017 Chiefs email to you was about
               the necessity of filling the vacant positions and what the strain of being
               under staffed has been for such a small Police Department,(refer to emails)
               Chief sent emails to Mr. Jones on August 17, 19, 20, 24, and September 1,
               in reference to the necessity ofover-time due to the department being under
               staffed (refer to emails)
               It is our understanding that the claim filed by Officer Lee was in reference
               to overtime pay which is not handled by the Police Department, but rather
               the City Payroll and Human Resources responsibility. As well as ensuring

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               compliance with all Federal Compensation Law.(See attached Over-Time
               Explained Memo)
               Please find the following request for information:
        1.     At this time Chief is requesting a full copy of the "evidence file."
        2.     At this time Chief is requesting "further explanation" for the reasons for the
               proposed action.
        3.     At this time Chief is requesting to be represented by an attorney.
        4.     At this time Chief is requesting additional time before a hearing to confer
               with counsel.
               The Chief enjoys being part of the team moving forward to make the City
             of Walthourville a safer and better community for all of its citizens.
             (Exhibit "L")


   78. On or about October 27. 2017. Chief Quarterman received the               Notice of Proposed
        Letter of Reprimand executed by City Clerk Melissa Jones for the following:
               Within the last week, we have become aware of two separate issues which
               show your apparent disregard for the rules and regulations of the City of
               Walthourville and cast doubt on your ability to manage the Walthourville
               Police Department. Specifically, these are your failure to follow City
               Protocol in regards to the service ofthe Summons and Complaint regarding
               Officer Lee and the apparent lack of certifications of Officer Lee. Both of
               these issues are discussed separately herein.
               On or about August 1, 2017 you were served by a deputy of the Liberty
               County Sheriffs Department with a service packed for Officer Lee. You
               did not inform anyone of your receipt ofthese papers, and they remained on
               your desk for over a month,long atfer the time in which the City was legally
               required to file an answer to the lawsuit...
               As you are no doubt aware, the City of Walthourville recently settled a
               Federal Wage & Hour claim regarding past due overtime given to officer
               Lee. In our review of the matter, we learned that Officer Lee has failed her
               Radar Certification twice and has not been authorized to run radar within
               the City of Walthourville since she began working here over two years ago.
               Taking into account that Officer Lee will often work over 100 hours in a
               pay period, we question what duties she is actually performing on the road.
               We also question why this information was not brought to the attention of
               the Mayor and Council. When positions have become available within the
               City, they are applied for by many qualified applicants.
               Please advise as to the status of Officer Lee's certification and advise as to
               the current training level of all the current police officers.
               (Exhibit"M")

    79. On or about October 30.2017. Chief Quarterman submitted a request for Appeal which
        included the following response to the two(2)allegations:

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               I did sign on behalf of a servicing for Officer Lee. I then made a copy of
               the documents for the Office Lee and then place the originals in the "Inter
               Office" envelope to be delivered to City Hall, as is our policy.
               Radar certification is not a requirement for Officer Lee's position.
               Officer Lee has been an intrigue part in maintaining the safety and security
               of the City of Walthourville. She has performed her duties and
               responsibilities in a verity of capacities to aid and assist in preventing
               crime, in the arrest and prosecution of offenders, as well traffic violations,
               with a very high success rate which is reflected in the decrease in the
               crime rate while Officer Lee has been working here over the last two
               years.
               Per your request, 1 am providing the current training level of all of the
               current, new, and potentially new officers.
           (Exhibit "N")


    80. On or about November 1. 2017. Chief Quarterman received the following letter:
               You were previously served with a notice of Proposed Action. Within the
               Notice, you were given until 17:00 October 18, 2017 to respond in writing
               or orally and to request a hearing. Through your attorney, you requested an
               extension. We gave you until October 25, 2017 to respond to the Notice,
               which your attorney did on that date. Although you did not specifically
               request a hearing within your response, we have scheduled a hearing for
               Wednesday, November 8, 2017 at 1:00 p.m. in the conference room at
               Walthourville City Hall.
               If you want to schedule a time prior to then to review your file and the
               evidence against you, I am available today and tomorrow if you and your
               attorney would like to schedule a time.
               (Exhibit "O")

    81. On or about November 6. 2017. Chief Quarterman's Attorney Solomon Amusan
        submitted the following letter:
               We are in receipt of your November 1, 2017, Notice of proposed Hearing
               scheduled for Wednesday, November 8, 2017 at 1:00 p.m..
               PREREOUISITE: Please refer to our letter dated 11/06/2017 renewing
               our request for production of "evidence file" and our request for "further
               explanation'* for the reason ofthe proposed action. We asked for no hearing
               in our response because due process calls for disclosure ofthis information
               prior to a hearina. Please produce.
               CONFLICT: Moreover, please be advised that Counsel has a conflict In
               schedule to the proposed date of hearing. Counsel will appear for a BENCH
               TRIAL before the Glynn Cotinty Magistrate Court in MG17.01445.
               The Chief enjoys being part of the team moving forward to make the City
               of Walthourville a safer and better community for all of its citizens.
               (Exhibit "P")
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   82. On or about November 8. 2017 the City proceeded with a Hearing without Chief
        Quarterman nor his Attorney present and suspended Chief Quarterman with pay. At this
       time neither Chief Quarterman nor his attorney were provided a copy of the "evidence
        file" nor "further explanation."


   83. On or about Thursdav. November 9. 2017 at 6:59 a.m.. the following email was sent to
        Attorney Andrew Johnson, Ms. Melissa Jones, and Mayor Daisy Pray:
               Please see above my CONFLICT in schedule for this 9:00 a.m. 11/09/17
               schedules Proposed Adverse Action Hearing in the above case.
               I am the Lead Counsel in all these cases.
               I RESOLVE TO APPEAR FOR MEDIATION AND THEN STATE AND
               RECORDER'S COURT
               Please reschedule this matter for the next available date.
           (Exhibit "Q")

   84. On or about Thursdav. November 9. 2017 at 8:21 a.m.. the following email
        reply was sent from Attorney Andrew Johnson:
            The hearing will continue as scheduled. You were notified on Monday
               afternoon that we would accommodate your conflict in Chatham County on
               Wednesday, despite the fact we were not obligated to. Within the same e-
               mail, we let you know ofthe new date and time ofthe hearing. Now,with less
               than an hour to go before the hearing, we are being notified that you are not
               able to appear. This matter has dragged on for several weeks now as we have
               accommodated your multiple request. The City, the citizens of Walthourville,
               and even your client, deserve finality. Myself, the Mayor, and Melissa Jones
               will be at the Walthourville City Hall at 9:00.
           (Exhibit" R")


    85. On or about November 11. 2017. City Clerk Melissa Jones sent notice ofthe hearing set
        for 4:00 pm on November 15,2017.


    86. On November 14.2017. Chief Quarterman's Attorney teleconferenced with City Clerk
        Melissa Jones to schedule to review the 2"''"evidence file" 1:00pm on November 15,
        2017 at the Walthourville City Hall, three(3)hours prior to the scheduled hearing. Chief
        Quarterman nor his attorney were never provided a copy of the "evidence file" prior to
        this, although it had been requested.


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